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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


ANGELICA PARKER,
                                                           Case No. 24-cv-245 (JGLC) (RFT)
                           Plaintiff,
                                                     DEFENDANTS’ NOTICE OF MOTION
       -- against --                                 TO DISMISS THE COMPLAINT AS A
                                                        SANCTION FOR PLAINTIFF’S
SCOTT BURSOR and                                     SERIOUS AND PERSISTENT ABUSE
BURSOR & FISHER, P.A.,                                OF THE JUDICIAL PROCESS AND
                                                     NUMEROUS VIOLATIONS OF THIS
                           Defendants.                COURT’S ORDERS AND IMPOSING
                                                     MONETARY SANCTIONS AGAINST
                                                      PLAINTIFF’S COUNSEL, WIGDOR
                                                                   LLP

                                                                 Filed Electronically



TO:    All Counsel of Record

       PLEASE TAKE NOTICE that Defendants Scott Bursor and Bursor & Fisher, P.A., by

and through their undersigned counsel, Gibbons P.C. and Judd Burstein, P.C., will move this Court

before the Honorable Robyn F. Tarnofsky, United States Magistrate Judge for the Southern District

of New York, at the Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street, New

York, NY 10007, on February 19, 2025, for the entry of an order (1) dismissing the Complaint

(ECF No. 53.1) with prejudice as a terminating sanction issued pursuant to the Court’s inherent

authority and Rule 37 of the Federal Rules of Civil Procedure; (2) sanctioning Plaintiff’s counsel,

Wigdor LLP, under Rules 26 and 37 of the Federal Rules of Civil Procedure by ordering Wigdor

LLP to reimburse Defendants’ expenses and fees incurred as a result of the failure by Plaintiff and

her counsel to disclose responsive information to Defendants’ discovery requests and timely

produce documents from all relevant sources, including Defendants’ attorneys’ fees and expenses

incurred in the prosecution of this motion; and (3) granting Defendants such other, further and

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different relief as the Court deems just and proper.

       PLEASE TAKE FURTHER NOTICE that in support of this motion, Defendants shall

rely upon Defendants’ Memorandum of Law in Support of Defendants’ Motion to Dismiss the

Complaint as a Sanction for Plaintiff’s Serious and Persistent Abuse of the Judicial Process and

Numerous Violations of This Court’s Orders; the Declaration of Christine A. Amalfe, Esq., with

exhibits; the Declaration of ML; the Declaration of Lauren Mack, with exhibits; and the

Declaration of Veronica Perez, with exhibits, all filed herewith. Defendants shall further rely on

the expert report of Paul Neale, to be submitted on or before January 13, 2025 (see ECF No. 234)

and evidence admitted during the evidentiary hearing to be conducted on this motion on February

19, 2025.

       PLEASE TAKE FURTHER NOTICE that a proposed Order is submitted herewith.

       PLEASE TAKE FURTHER NOTICE that oral argument is respectfully requested.

       PLEASE TAKE FURTHER NOTICE that Plaintiff’s opposition papers, if any, and

Defendants’ reply papers, if any, shall be due on or before the dates set forth in the Court’s

November 22, 2024 Order (ECF No. 224).



   Dated: January 6, 2025                         Respectfully submitted,

                                                     By: /s Christine A. Amalfe
                                                     Christine A. Amalfe
                                                     Mark S. Sidoti
                                                     Charles S. Korschun
                                                     Daniel S. Weinberger
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                                      – and –

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